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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DISTRICT



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )                     4:13CR00219-04 SWW
                                             )
DWAYNE GIBBS                                 )


                                            ORDER

       The Court has been advised the government no longer seeks an arrest warrant for the

defendant. As a result, the motion for arrest warrant (docket entry no. 25) is denied. The Clerk

of the Court is directed to issue a summons for the defendant to appear for plea and arraignment

on September 24, 2013, at 10:00 a.m., before United States Magistrate Judge Beth Deere.

       IT IS SO ORDERED this 30         day of August, 2013.




                                                 UNITED STATES MAGISTRATE JUDGE
